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  8                           UNITED STATES DISTRICT COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

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 11    ANTONIO MEDINA,
                                             Case No. CV 20-03858-SB(AS)
 12                      Petitioner,

 13                 v.
                                             ORDER ACCEPTING FINDINGS,
 14
      TERESA CISNEROS,                       CONCLUSIONS AND
 15
                                             RECOMMENDATIONS OF UNITED
 16                      Respondent.
                                             STATES MAGISTRATE JUDGE
 17

 18

 19         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First
 20   Amended Petition, all the records herein and the attached Report

 21   and Recommendation of United States Magistrate Judge.            After having

 22   made a de novo determination of the portions of the Report and

 23   Recommendation     to    which   objections   were   directed,    the   Court

 24   concurs with and accepts the findings and conclusions of the

 25   Magistrate Judge.

 26

 27         IT IS ORDERED that Judgment shall be entered denying and

 28   dismissing the Petition with prejudice.
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  1         IT IS FURTHER ORDERED that the Clerk serve copies of this

  2   Order, the Magistrate Judge’s Report and Recommendation and the

  3   Judgment herein on Petitioner and counsel for Defendant.

  4
            LET JUDGMENT BE ENTERED ACCORDINGLY.
  5

  6   Dated:   June 24, 2022
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  8                                            Stanley Blumenfeld, Jr.
  9                                         United States District Judge

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